    Case
     Case2:13-cr-00018-JCM-GWF
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Form 12 - Travel
D/NV Form
Rev. June 2014



                                United States District Court
                                            for
                                  the District of Nevada

                           REQUEST FOR TRAVEL OUTSIDE
                          THE CONTIGUOUS UNITED STATES


Name of Offender: Jose Luis Alvarez

Case Number: 2:13CR00018

Name of Sentencing Judicial Officer: Honorable James C. Mahan

Date of Original Sentence: May 21, 2015

Original Offense: Conspiracy to Commit Mail and Wire Fraud

Original Sentence: 12 Months prison, followed by 36 Months TSR.

Date Supervision Commenced: July 1, 2016

                                          SUMMARY

On January 26, 2017, Mr. Jose Alvarez submitted a travel request for Mexicali, Mexico, from
April 7 – 18, 2017. The purpose of the travel is to see his wife Veronica, and celebrate her
birthday. Mr. Alvarez will reside at 391 Quintanaroo #5 Col. Nueva Esperanza, Mexicali B.C.N.
21101, for the duration of the trip.

If approved, Mr. Alvarez will drive his personal vehicle. Mr. Alvarez estimates the cost of the
trip as $200.00, which his father is paying.

Currently, Mr. Alvarez is in compliance with his conditions of supervision. The Probation
Office respectfully requests that Mr. Alvarez be permitted to travel to Mexico on the
aforementioned dates. Mr. Alvarez is aware that if the Court does not authorize his travel, he
must remain in the United States until he satisfactorily completes his term of supervision.
    Case
     Case2:13-cr-00018-JCM-GWF
           2:13-cr-00018-JCM-GWF Document
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                                  RE: Jose Luis Alvarez
Form 12 - Travel
D/NV Form
Rev. June 2014
                                                        Respectfully submitted,
                                                                       Tawni Lea Salem
                                                                       2017.02.01 12:59:18
                                                                       -08'00'
                                                        ______________________________
                                                        Tawni Salem
                                                        United States Probation Officer

Approved:
                          Robert G. Aquino
                          2017.02.01 13:08:16 -08'00'
__________________________________________
Robert Aquino
Supervisory United States Probation Officer



THE COURT ORDERS


‫܆‬
X        Requested Travel is Approved

‫܆‬        Requested Travel is Denied

‫܆‬        Other




                                             _____________________________
                                             Signature of Judicial Officer
                                              February 9, 2017
                                             _____________________________
                                             Date
